                                                Entered on Docket
                                                May 09, 2018
                                                EDWARD J. EMMONS, CLERK
                                                U.S. BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF CALIFORNIA


   1   JOAN M. GRIMES, ESQ.
       State Bar No. 121502
   2   1600 S. Main Street, Suite 100       The following constitutes
       Walnut Creek, CA 94596               the order of the court. Signed May 9, 2018
   3   (925) 939-1680 Phone
       (925) 407-8373 Fax
   4
       Attorney for Debtors
   5                                               ________________________________________
                                                   Charles Novack
   6                                               U.S. Bankruptcy Judge

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   8
                                 UNITED STATES BANKRUPTCY COURT
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                    NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
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  11                                                          )   Case No.     13-41687-CN-13
                                                              )
  12                                                          )   Chapter 13
                                                              )
  13   Eric Robert Green                                      )   FINAL ORDER ON MOTION TO
       Kathryn Kaye Green,                                    )   VALUE COLLATERAL OF WELLS
  14                                                          )   FARGO BANK, NA AS SUCCESSOR IN
                      Debtors.                                )   INTEREST TO WACHOVIA AS
  15                                                          )   SUCCESSOR IN INTEREST TO
                                                              )   WORLD SAVINGS BANK (SECOND
  16                                                          )   DEED OF TRUST) UNDER § 506 AND
                                                              )   FRBP 3012
  17                                                          )
  18          On April 24, 2013, this Court entered an ORDER VALUING COLLATERAL OF

  19   WELLS FARGO BANK, NA AS SUCCESSOR IN INTEREST TO WACHOVIA AS

  20   SUCCESSOR IN INTEREST TO WORLD SAVINGS BANK (SECOND DEED OF TRUST)

  21   UNDER § 506 AND FRBP 3012. The collateral secures a lien against certain property of the

  22   Debtors for purposes of this Chapter 13 case. That Order was subject to being set aside until the

  23   Debtors obtained a discharge or completed plan payments in this Chapter 13 case. The Debtors

  24   having obtained that discharge, the court now therefore enters the following final order:

  25          The lien of Wells Fargo Bank, NA as Successor in Interest to Wachovia as Successor in

  26   Interest to World Savings Bank (Second Deed of Trust) regarding the property commonly known

  27   as 724 Shumardi Oak Court, Brentwood, CA 94513 and more fully described in “Exhibit A”

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       FINAL ORDER ON MOTION TO VALUE COLLATERAL OF WELLS FARGO BANK, NA AS SUCCESSOR
       IN INTEREST TO WACHOVIA AS SUCCESSOR IN INTEREST TO WORLD SAVINGS BANK (SECOND
       DEED OF TRUST) UNDER § 506 AND FRBP 3012
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              hereto, and which was recorded in Contra Costa County on August 29, 2006 as document
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       number 2006-0273330-00, is hereby determined to be entirely, permanently, and for all other
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       purposes void and unenforceable.
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                                          *END OF FINAL ORDER*
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       IN INTEREST TO WACHOVIA AS SUCCESSOR IN INTEREST TO WORLD SAVINGS BANK (SECOND
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   2                                         EXHIBIT A

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                                       COURT SERVICE LIST
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